Case 2:05-cr-20080-.]DB Document 45 Filed 06/20/05 Page 1 of 2 Page|D 52

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IN THE UNITED sTATES DISTRICT coURT D.C.
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JU
wEsTERN DIVISION ~20 FH 2’-"2¢f
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W'D OF TN» MEM'PH:S
UNITED STATES OF AMERICA,

 

Plaintiff,

VS. NO. 05~20080-Ma

FRED KR.ATT ,

Defendant.

 

ORDER EX'I'ENDING MOTIONS DEADLINE
AND ORDER RESETTING TRIAL AND EXCLUDING TIME

 

Before the court is defendant Fred Kratt's June l6, 2005,
motion for additional time within Which to file pretrial motions
in this matter. For good cause shown, the motion is granted.

The defendant shall have to and including August 26, 2005, within
Which to file pretrial motions.

The trial of this matter is continued to September 6, 2005,
at 9:30 a.m., with a report date of August 26, 2005, at 2:00 p.m.

The period from August 12, 2005, through September 16, 2005,
is excluded under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow defense
counsel additional time to prepare.

iq P¢`day of June, 2005.

J//M__

SAMUEL H. M.AYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

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with Fiufe 55 and/or 32( (b) FHCrP on m

IT IS SO ORDERED this the

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:05-CR-20080 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

